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 2
                                    UNITED STATES DISTRICT COURT
 3
                                  EASTERN DISTRICT OF CALIFORNIA
 4

 5   UNITED STATES OF AMERICA, et al., ex                CASE NO. 2:20-CV-409 JAM AC
     rel., JOHN CHUNG,
 6                                                       ORDER
                                  Plaintiffs,
 7
                             v.
 8
     THE KROGER CO., d/b/a/ KROGER,
 9   KROGER FRESH FARE, KROGER
     MARKETPLACE, et al.,
10
                                  Defendants.
11

12
                                                     ORDER
13

14          The Relator, John Chung, having filed a Voluntary Dismissal Without Prejudice of this action

15 and the United States and the Plaintiff States having filed their Notices of Consent to Dismissal,

16 pursuant to the False Claims Act, 31 U.S.C. § 3730(b)(1), the Court rules as follows:

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            IT IS ORDERED that,
18
            1.     This action is DISMISSED without prejudice as to the United States;
19
            2.     The seal shall be LIFTED upon Relator’s Complaint, Relator’s Voluntary Dismissal
20
                   Without Prejudice, the United States’ Notice of Consent to Dismissal, this Order, and any
21

22                 subsequent filings in this case. All other contents of the Court’s file in this action shall

23                 remain under seal and not be made public.
24
      Dated: July 28, 2023                          /s/ John A. Mendez
25
                                                    THE HONORABLE JOHN A. MENDEZ
26                                                  SENIOR UNITED STATES DISTRICT JUDGE
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